Case 1:15-cv-00099-SPW Document 33-5 Filed 10/03/16 Page1of5

Kevin Gillen and Mark A. English

Deputy Yellowstone County Attorneys
Yellowstone County Courthouse, Room 701
P.O. Box 35025

Billings, Montana 59107-5025

(406) 256-2870
kgillen@co.yellowtone.mt.gov
menglish@co.yellowstone.mt.gov

Attorneys for Yellowstone County ef al

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

BILLINGS DIVISION
ESTATE OF LOREN SIMPSON ef ai, )
) Cause No. CV 15-0099-SPW
_ Plaintiffs, )
)
VS. ) YELLOWSTONE COUNTY’S
) SUPPLEMENTAL
YELLOWSTONE COUNTY et al, ) RESPONSES TO
) PLAINTIFF’S SECOND
Defendants. ) DISCOVERY REQUESTS
)
INTERROGATORIES

INFERROGATORY NO. 5: In your response to Request for Admission
No, I, you indicated that “both officers were informed that the county would be
initiating disciplinary proceedings” against the officers. Please identify:

A. | Who made the decision to initiate the disciplinary proceedings;

ANSWER: Sheriff Linder.

Yellowstone County’s Supplemental Responses to Plaintiff's Second Discovery Requests
Lofs
Case 1:15-cv-00099-SPW Document 33-5 Filed 10/03/16 Page 2of5

B. The manner in which that decision was discussed and ultimately
reached, including the identity of any individual who took part in discussions with
the decision-maker, the identity of any documents reviewed by the decision-maker,
and the identity of any evidence considered by the decision-maker;

ANSWER: Sheriff Linder decided to pursue disciplinary proceedings against
the officers after reviewing investigative material involving the shooting incident,
all of which has already been turned over to Plaintiff in response to other discovery
requests. There was no specific meeting to discuss this action. In addition to any
discussion concerning disciplinary aspects of the shooting incident, other matters
such as the shooting review board, coroner’s inquest and related issues, were
discussed on an ongoing basis between law enforcement, including Sheriff Linder,
and the office of the County Attorney involving County Attorney Twito, Deputy
County Attorney Gillen and others in the County Attorney’s office.

C. Who informed the officers that disciplinary proceedings would be
initiated;

ANSWER: Deputy County Attorney Gillen.

D. How this information was conveyed to the officers (i.e. in person, by
phone, etc.);

ANSWER: In person.

E. When this information was conveyed to the officers;

Yellowstone County’s Supplemental Respouses to Plaintiff's Second Discovery Requests
2of5
Case 1:15-cv-00099-SPW Document 33-5 Filed 10/03/16 Page 3of5

ANSWER: During the week of February 11, 2015.

F, Who was present when this information was conveyed to the officers,
including whether both officers were present together or whether there were
separate discussions with each officer; and

ANSWER: The following persons were present at that discussion: Mr.
Robinson, Mr. Rudolph, Gillen and MPEA Union Representative Darcy Dahl.

G. All reasons given to the officers as grounds for initiating disciplinary
proceedings, including any allegation of violation of any law, policy, procedure,
training standard, or standard of care.

ANSWER: The meeting with the officers focused on a lack of meaningful

discussion in the patrol vehicle between the officers conceming options available

and tactics employed.

Dated this 23" day of March 2016.

Zé ( sy, Mo +

a Gillen
Deputy Yellowstone County Attorney

Yellowstone County’s Supplemental Responses to Plaintiff's Second Discovery Requests
3o0f5
Case 1:15-cv-00099-SPW Document 33-5 Filed 10/03/16 Page4of5

Verification
STATE OF MONTANA )
: SS.
County of Yellowstone _ )

I, Kevin Gillen, being duly sworn, state that I am a Deputy Yellowstone
County Attorney, the responses to the interrogatories are correct as far as I know
and I am authorized by the Yellowstone County Board of County Commissioners to
answer the interrogatories served on the County by the Estate of Loren Simpson on
behalf of the County and to make this verification.

1,° Qf Ni;
3 CHA AA VE,

Kevin Gillen
Deputy Yellowstone County Attorney

Signed and sworn to before me on this 23" day of March 2016 by Kevin Gillen.

i a \ , \
ff yt ) [_f Af) ( ) :
“Ne Oh KE ture Q U CES JULIE A. ELWELL
Tylie aT Flwell ; NOTARY PUBLIC for the
Nice Public for the State of Montana

Residing at Billings, Montana.
My commission expires: May 1, 2018

: State of Montana
', | Residing at Bilings. Montana
( arial Sealer” Expires

MayO1 2018

Yellowstone County’s Supplemental Responses to Plaintiff's Second Discovery Requests
4of5
Case 1:15-cv-00099-SPW Document 33-5 Filed 10/03/16 Page5of5

Certificate of Service

I certify that on the date below I mailed a copy of the attached Yellowstone
County’s Supplemental Responses to Plaintiff's Second Discovery Requests to:

Datsopoulos, MacDonald & Lind, P.C.

Attn: Nathan G. Wagner

201 West Main Street, Suite 201

Missoula, Montana 59802

Attorney for the Estate of Loren Benjamin Simpson, et al

Dated this 23" day of March 2016.
rR J aA
Aun Ib,

Kevin Gillen
Deputy Yellowstone County Attorney

Yellowstone County’s Supplemental Responses to Plaintiff's Second Discovery Requests
Sof5
